






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-09-00216-CV







J. Stephen Spencer, Appellant


v.


Jonathan M. Gilbert, Appellee







FROM THE DISTRICT COURT OF BLANCO COUNTY, 424TH JUDICIAL DISTRICT

NO. CV-6721, HONORABLE DANIEL H. MILLS, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


		

		J. Stephen Spencer, appearing pro se, appeals a final judgment that was signed on
April 9, 2009.  The clerk's record was due on June 8, 2009.  On July 16, 2009, appellant was notified
that no clerk's record had been filed due to his failure to pay or make arrangements to pay the clerk's
fee for preparing the clerk's record.  On August 10, 2009, the trial court clerk confirmed that
appellant still had not paid or made arrangements to pay for preparation of the record.

		If the trial court fails to file the clerk's record due to appellant's failure to pay or make
arrangements to pay the clerk's fee for preparing the clerk's record, the appellate court may dismiss
the appeal for want of prosecution unless the appellant was entitled to proceed without payment of
costs.  Tex. R. App. P. 37.3(b).

		Because appellant has failed to pay or make arrangements to pay the clerk's fee for
preparing the clerk's record, this appeal is dismissed for want of prosecution. (1)


						                                                                                     

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Dismissed for Want of Prosecution

Filed:   November 10, 2009

1.   Our dismissal of this appeal has no effect on cause number 03-09-00207-CV, which
remains pending as a separate appeal involving the same parties.

